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                                 UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF IDAHO
                                      SOUTHERN DIVISION

 PLANNED PARENTHOOD GREAT
 NORTHWEST, HAWAII, ALASKA, INDIANA,
 KENTUCKY, on behalf of itself, its staff, physicians
 and patients, CAITLIN GUSTAFSON, M.D., on
 behalf of herself and her patients, and DARIN L.            Case No. 1:23-cv-00142-BLW
 WEYHRICH, M.D., on behalf of himself and his
 patients,                                                   JOINT STATUS REPORT
                Plaintiffs,
         v.

 RAÚL LABRADOR, in his official capacity as
 Attorney General of the State of Idaho; COUNTY
 PROSECUTING ATTORNEYS, in their official
 capacities,

               Defendants.
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       Pursuant to the Court’s order continuing the supplemental briefing regarding the County

Prosecuting Attorneys’ pending motions to dismiss, vacating the hearing set for May 20, 2025, and

directing the parties to provide the Court with an update on the status of settlement discussions no

later than May 30, 2025 (Dkt. 189), Raúl Labrador, in his official capacity as Attorney General of

the State of Idaho, certain County Prosecuting Attorneys, in their official capacities, by and through

the undersigned counsel, and Plaintiffs, by and through the undersigned counsel (collectively, the

“Parties”), submit this joint status report to provide an update on settlement discussions.

       The Parties have been actively working on finalizing a settlement and will provide the

Court with a further update on the status of these discussions no later than June 30, 2025.

       RESPECTFULLY SUBMITTED this 30th day of May, 2025.
/s/ Brian V. Church                /s/ Colleen R. Smith
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 30, 2025, I filed the foregoing electronically through the

CM/ECF system, which caused the following parties or counsel to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:

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       And I FURTHER CERTIFY that on such date I served the foregoing on the following

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follows:

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                                                           /s/ Colleen R. Smith
                                                           Colleen R. Smith
